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  13
                              UNITED STATES DISTRICT COURT
  14
               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  15

  16 Amazon Content Services, LLC;                Case No. 2:18-CV-03325-MWF (AS)
       Columbia Pictures Industries, Inc.;
  17   Disney Enterprises, Inc.; Netflix          PLAINTIFFS’ NOTICE OF
       Studios, LLC; Paramount Pictures           MOTION AND MOTION FOR
  18   Corporation; Sony Pictures Television      DEFAULT JUDGMENT AGAINST
       Inc.; Twentieth Century Fox Film           DEFENDANT SET BROADCAST,
  19   Corporation; Universal City Studios        LLC D/B/A SETVNOW
       Productions LLLP; Universal Cable
  20   Productions LLC; Universal Television
       LLC; Warner Bros. Entertainment Inc.,      Judge: Hon. Michael W. Fitzgerald
  21
                    Plaintiffs,                   Date: July 29, 2019
  22                                              Time: 10:00 a.m.
             vs.                                  Ctrm: 5A
  23
       Set Broadcast, LLC d/b/a Setvnow;
  24 Jason Labossiere; Nelson Johnson,            Filed concurrently:
                                                   Declaration of Jan van Voorn
  25                Defendants.                    Declaration of Elizabeth A. Kim
                                                   [Proposed] Order
  26

  27

  28

       PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR DEFAULT JUDGMENT AGAINST SET BROADCAST
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   1                                NOTICE OF MOTION
   2                      TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
   3        PLEASE TAKE NOTICE that on July 29, 2019, at 10:00 a.m., or as soon
   4 thereafter as counsel may be heard in Courtroom 5A of the above-captioned Court,

   5 located at 350 West First Street, Los Angeles, California, 90012, Plaintiffs Amazon

   6 Content Services, LLC, Columbia Pictures Industries, Inc., Disney Enterprises, Inc.,

   7 Netflix Studios, LLC, Paramount Pictures Corporation, Twentieth Century Fox Film

   8 Corporation, Universal City Studios Productions LLLP, and Warner Bros.

   9 Entertainment Inc., (“Plaintiffs”) will and hereby do move pursuant to Federal Rule

  10 of Civil Procedure 55(b)(2) for Default Judgment against Defendant Set Broadcast,

  11 LLC d/b/a Setvnow.

  12        This motion is based on this Notice of Motion and Motion; the attached
  13 Memorandum of Points and Authorities; the accompanying Declarations of Jan van

  14 Voorn and Elizabeth A. Kim; the pleadings and papers on file in this action; and any

  15 further evidence or argument that may be presented to the Court at or prior to the

  16 submission of this motion.

  17

  18 DATED: June 28, 2019                  MUNGER, TOLLES & OLSON LLP
  19

  20

  21
                                           By:        /s/ Kelly M. Klaus
                                               KELLY M. KLAUS
  22                                       Attorneys for Plaintiffs
  23

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   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2 I.     INTRODUCTION
   3        Plaintiffs ask the Court to enter a default judgment against Defendant Set
   4 Broadcast, LLC d/b/a Setvnow (“Set Broadcast”) pursuant to Federal Rule of Civil

   5 Procedure 55(b)(2). Set Broadcast has failed to respond to this Court’s April 17,

   6 2019 Order to Show Cause as to why its Answer filed on June 18, 2018 should not

   7 be stricken for failure to retain counsel. ECF Dkt. 45. Pursuant to the Court’s April

   8 17, 2019 Order, Plaintiffs submitted an application for entry of default against Set

   9 Broadcast to the Clerk of the Court on May 20, 2019. ECF Dkt. 47. The Clerk

  10 entered default against Set Broadcast on May 28, 2019. ECF Dkt. 49.

  11        Set Broadcast has failed to retain counsel for over two months. During that
  12 same time period, Set Broadcast has failed to respond to the Court’s April 17, 2019

  13 Order, failed to participate in this litigation, and failed to respond to the Clerk’s May

  14 28, 2019 entry of default. Settled law permits entry of default against willful

  15 infringers like Set Broadcast in these circumstances. Plaintiffs therefore respectfully

  16 request that the Court enter default judgment against Set Broadcast.

  17 II.    BACKGROUND
  18        A.     Factual Background
  19        Set Broadcast is an illegal infringer that promised customers they could
  20 “Stream over 500 live channels” of television and “Thousands of On Demand

  21 entertainment options” for “only $20/month.” Compl. ¶ 1. Like the defendants in

  22 Universal City Studios Productions LLLP et al. v. TickBox TV LLC et al., 2018 WL

  23 1568698 (No. 17-cv-07496-MWF), and Netflix Studios, LLC et al. v. Dragon Media,

  24 Inc. et al., (18-CV-00230-MWF), Set Broadcast encouraged widespread

  25 infringement through unauthorized Internet streams of movies and television shows

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       PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR DEFAULT JUDGMENT AGAINST SET BROADCAST
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   1 by enabling its customers to find high-quality, high-speed, reliable—but completely

   2 illegal—content sources.

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   9 See Declaration of Elizabeth A. Kim (“Kim Decl.”) ¶ 7, Ex. 1.

  10        Whether Set Broadcast’s customers preferred a pre-loaded “box,” i.e., a
  11 computer hardware device that a customer could “plug-and-play,” or a monthly

  12 subscription to the “Setvnow service,” Set Broadcast offered illegal access to

  13 streams of Plaintiffs’ Copyrighted Works. The Setvnow service provided customers

  14 with a built-in media player, curated menus of live television channels, and on-

  15 demand streams of movies and television shows. Compl. ¶ 31. As shown below,

  16 the Setvnow user interface provided simple click-to-play options for streaming

  17 infringing content, including “TV” and “VOD,” i.e., video-on-demand.

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   1 Kim Decl. ¶ 8, Ex. 2.

   2        If the customer chose the “VOD” option, the Setvnow service would present
   3 him or her with a selection of hundreds of titles, including movies still in theaters.

   4 Set Broadcast’s customers used the Setvnow service for its intended and

   5 unquestionably infringing purposes, most notably to obtain immediate, unrestricted,

   6 and unauthorized access to unauthorized streams of Plaintiffs’ Copyrighted Works.

   7 Compl. ¶¶ 39-40.

   8        As set forth in the accompanying Declaration of Jan van Voorn (“van Voorn
   9 Decl.”), investigators using the Setvnow service searched for and found links to

  10 each and every one of the 51 Copyrighted Works listed in Exhibit A to the

  11 Complaint. Van Voorn Decl. ¶¶ 4-6. The investigators confirmed that the links

  12 Setvnow returned unauthorized streams of each of the 51 Copyrighted Works listed

  13 in Exhibit A to the Complaint. Id. ¶ 6.

  14        B.     Procedural Background
  15        Plaintiffs filed their Complaint on April 20, 2018. ECF Dkt. 1. Set Broadcast
  16 retained counsel, and pursuant to stipulation, filed an Answer on June 19, 2018,

  17 ECF Dkt. 18. The parties exchanged some initial discovery. They also had

  18 preliminary settlement discussions but these went nowhere. Plaintiffs ultimately
  19 had to move to compel the depositions of Defendants Jason Labossiere and Nelson

  20 Johnson, the owner-and-operator of Set Broadcast and former authorized manager

  21 of Set Broadcast, respectively. ECF Dkt. 22. Then, on February 25, 2019, Joseph

  22 Shapiro, counsel for all Defendants moved to withdraw. ECF Dkt. 34. The Court

  23 denied Mr. Shapiro’s motion to withdraw without prejudice, ECF Dkt. 39, but

  24 granted his corrected motion to withdraw on April 17, 2019, ECF Dkt. 45.

  25        In the Order granting the motion to withdraw, the Court stayed this action
  26 until May 13, 2019, to permit Defendants to file a notice with the Court that they

  27 had retained new counsel. ECF Dkt. 45 at 2. With respect to Set Broadcast, the

  28 Court explained that corporations may not proceed pro se, and ordered Set
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       PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR DEFAULT JUDGMENT AGAINST SET BROADCAST
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    1 Broadcast “to show cause, in writing, by no later than May 13, 2019, why the

    2 Answer filed on June 18, 2018, should not be stricken for failure to retain counsel.”

    3 Id. The Court further directed Plaintiffs to apply for entry of default by May 20,

    4 2019, should Set Broadcast fail to respond to the Court’s Order to Show Cause.

    5        Set Broadcast failed to respond to the Court’s Order to Show Cause. On May
    6 20, 2019, Plaintiffs applied to the Clerk for entry of default, ECF Dkt. 47, and the

    7 Clerk entered default pursuant to Federal Rule of Civil Procedure 55(a) on May 29,

    8 2019, ECF Dkt. 49. On May 30, 2019, the Court issued an Order to Show Cause re

    9 Default Judgment, setting a hearing for July 1, 2019, at 11:30 a.m. ECF Dkt. 50.

   10 Pursuant to that Order, Plaintiffs submit this motion for default judgment.

   11 III.   ARGUMENT
   12        A.     Legal Standard
   13        Granting default judgment is within the Court’s discretion. PepsiCo, Inc. v.
   14 California Sec. Cans, 238 F. Supp. 2d 1172, 1174 (C.D. Cal. 2002). The Court may

   15 enter default judgment following the entry of default by the Clerk of the Court. Fed.

   16 R. Civ. P 55(b); PepsiCo, 238 F. Supp. 2d at 1174. “Upon entry of default, the well-

   17 pleaded allegations of the complaint relating to a defendant’s liability are taken as

   18 true, with the exception of the allegations as to the amount of damages.” PepsiCo,
   19 238 F. Supp. 2d at 1175. The Court may hold hearings to conduct an accounting,

   20 determine the amount of damages, establish the truth of any allegation, or

   21 investigate any other matter. Fed. R. Civ. P. 55(b).

   22        In the Ninth Circuit, a court may consider the following factors in considering
   23 whether to enter default judgment:

   24        (1) the possibility of prejudice to the plaintiff, (2) the merits of plaintiff’s
   25        substantive claim, (3) the sufficiency of the complaint, (4) the sum of money
   26        at stake in the action; (5) the possibility of a dispute concerning material facts;
   27        (6) whether the default was due to excusable neglect, and (7) the strong policy
   28
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    1         underlying the Federal Rules of Civil Procedure favoring decisions on the
    2         merits
    3 Eitel v. McCool, 782 F.2d 1470, 1471-72 (9th Cir. 1986). The weight of these

    4 factors compel the entry of default judgment against Set Broadcast in this case.

    5         B.       Plaintiffs Have Satisfied the Procedural Requirements for Default
                       Judgment
    6
              In compliance with Local Rule 55-1, Plaintiffs’ motion for default judgment
    7
        is supported by the Kim Declaration, which establishes that:
    8
              •        The Clerk entered default against Set Broadcast on May 28, 2019. Kim
    9                  Decl. ¶ 2; ECF Dkt. 49.
   10         •        Default was entered as to the Complaint. Kim Decl. ¶ 2; ECF Dkt. 49.
   11         •        As a corporate entity. Set Broadcast is not an infant, incompetent
                       person, or subject to the Servicemembers Civil Relief Act. Kim Decl.
   12                  ¶ 3.
   13         •        Plaintiffs have served the Notice of Motion and Motion for Default
                       Judgment on Set Broadcast. Kim Decl. ¶ 4.
   14
              This Court has jurisdiction to enter judgment in this matter. Taking the
   15
        Complaint’s well-pleaded allegations as true, the Court has personal jurisdiction
   16
        because Set Broadcast has purposefully consummated transactions with residents of
   17
        California and purposefully availed itself of the benefits of the forum District by
   18
        conducting activities here. Plaintiffs’ claims arise from Set Broadcast’s forum-
   19
        related activities, including openly encouraging its customers in California to obtain
   20
        streams of infringing content and using Plaintiffs’ or their affiliates’ trademarks for
   21
        television channels to demonstrate the range of available infringing content. Set
   22
        Broadcast induced the infringement of Plaintiffs’ Copyrighted Works with the
   23
        knowledge and intent that its activities would cause significant harm in California—
   24
        the locus of most of Plaintiffs’ production and distribution operations. Compl.
   25
        ¶¶ 21-22. Exercise of jurisdiction is therefore reasonable. See Mavrix Photo, Inc. v.
   26
        Brand Techs., Inc., 647 F.3d 1218, 1230-31 (9th Cir. 2011); see also O’Reilly v.
   27
        Valley Ent’mt, Inc., 2011 WL 13258234, at *2-4 (specific jurisdiction over
   28
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    1 infringing defendant reasonable in default judgment) (N.D. Cal. Jan. 4, 2011),

    2 adopted by, 2011 WL 13260734 (N.D. Cal. Feb. 16, 2011).

    3            The Court also has subject-matter jurisdiction over this action, as Plaintiffs’
    4 claims arise under the federal Copyright Act. See 28 U.S.C. §§ 1331, 1338(a), and

    5 17 U.S.C. § 501(b).

    6            C.      The Eitel Factors Favor Entry of Default Judgment
    7                    1.     Plaintiffs Will Suffer Prejudice Absent Entry of Default
                                Judgment
    8
                 Pursuant to the Court’s April 17, 2019 Order to Show Cause, Set Broadcast’s
    9
        Answer has been stricken and it has not participated in the litigation since its
   10
        counsel withdrew. Without a default judgment, Plaintiffs will be deprived of any
   11
        remedy for the injuries Plaintiffs have sustained from Set Broadcast’s widespread
   12
        infringement. See Star Fabrics, Inc. v. 3Free NYC, Inc., 2013 WL 12124095, at *2
   13
        (C.D. Cal. Dec. 9, 2013) (first factor favors plaintiff where it would otherwise be
   14
        unable to recover damages from infringer); see also China Cent. Tele. v. Create
   15
        New. Tech. (HK) Ltd., No. CV 15-01869 MMM (AJWx), 2015 WL 12732432, at *8
   16
        (C.D. Cal. Dec. 7, 2015) (same). The first Eitel factor weighs in favor of default
   17
        judgment.
   18
                         2.     The Merits of Plaintiffs’ Claims and Sufficiency of the
   19                           Complaint Weigh in Favor of Default Judgment
   20            The second and third Eitel factors require that Plaintiffs “state a claim on
   21 which [they] may recover.” 1 PepsiCo, 238 F. Supp. 2d at 1175. To state copyright

   22 infringement claims, Plaintiffs need only (1) “show ownership” and (2) a violation

   23 of “at least one exclusive right” under 17 U.S.C. § 106. A&M Records, Inc. v.

   24 Napster, Inc., 239 F.3d 1004, 1013 (9th Cir. 2001). Plaintiffs satisfy both

   25 requirements.

   26

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   28   1
            Unless otherwise noted, internal quotation marks have been omitted.
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    1        Ownership: Plaintiffs’ ownership of their Copyrighted Works is
    2 uncontroverted. Exhibit 55 to the accompanying Kim Declaration includes a

    3 representative list of Copyrighted Works that were infringed through the Setvnow

    4 service and Exhibits 4-54 are certificates of registration issued by the Copyright

    5 Office for each Work. These certificates create a presumption of copyright validity

    6 and ownership. 17 U.S.C. § 410(c); United Fabrics Int’l, Inc. v. C&J Wear, Inc.,

    7 630 F.3d 1255, 1257 (9th Cir. 2011).

    8        Violation of Plaintiffs’ Exclusive Right Under Copyright: Set Broadcast
    9 intentionally induced the infringement of Plaintiffs’ Copyrighted Works,

   10 specifically, the infringement of their exclusive right of public performance, 17

   11 U.S.C. § 106(4). ECF Dkt. 1. Under the Supreme Court’s decision in Metro-

   12 Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 936-37 (2005), a party

   13 that distributes a product “with the object of promoting its use to infringe copyright,

   14 as shown by clear expression or other affirmative steps taken to foster infringement,

   15 is liable for the resulting acts of infringement by third parties.” A plaintiff

   16 establishes inducement liability in the Ninth Circuit liability by showing:

   17 “(1) distribution of a device or product [by defendant], (2) acts of infringement [by

   18 third parties], (3) an object [of the defendant] of promoting [the device’s or
   19 product’s] use to infringe copyright, and (4) causation.” Columbia Pictures Indus.,

   20 Inc. v. Fung, 710 F.3d 1020, 1032 (9th Cir. 2013) (citing Grokster, 545 U.S. at 936-

   21 37). The Complaint pleads all four elements.

   22        First, Set Broadcast distributed and sold the Setvnow service that enabled and
   23 encouraged the infringement of Plaintiffs’ public performance right. Compl. ¶¶ 1-4,

   24 28-45, 49-50, 58-60; van Voorn Decl. ¶¶ 4-6; see Fung, 710 F.3d at 1033 (“services

   25 available on the Internet” provides a basis for inducement liability).

   26        Second, Set Broadcast’s objective in distributing the Setvnow service was to
   27 facilitate third parties’ unauthorized streaming, i.e., public performance, of

   28 Plaintiffs’ Copyrighted Works. Compl. ¶¶ 1-4, 29, 41-47. Set Broadcast thereby
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    1 induced the direct infringement of Plaintiffs’ public performance right. See TickBox

    2 TV LLC, 2019 WL 1568698, at *9-10 (citing Am. Broad. Cos., Inc. v. Aereo, Inc.,

    3 573 U.S. 431, 446-47 (2014) (service that made Internet streams of content

    4 performed publicly)); see also, e.g., WPIX, Inc. v. ivi, Inc., 691 F.3d 275, 278 (2d

    5 Cir. 2012) (“undisputed” that defendant’s Internet streaming of television programs

    6 infringed public performance right); Warner Bros. Entm’t Inc. v. WTV Sys., Inc.,

    7 824 F. Supp. 2d 1003, 1010 (C.D. Cal. 2011) (“Zediva”) (Internet streaming of

    8 movies and television shows from remote DVD players to users is a public

    9 performance).

   10        Third, Set Broadcast knowingly distributed the Setvnow service “with the
   11 object of promoting its use to infringe copyright.” Fung, 710 F.3d at 1034 (quoting

   12 Grokster, 545 U.S. at 936-37). Set Broadcast encouraged its customers to use the

   13 service to obtain infringing streams of, among other things, “new movies, new

   14 releases,” “Netflix exclusive shows,” and “on-demand television shows and movies

   15 that you were looking for.” Compl. ¶¶ 41-43.

   16        Fourth, the causation requirement is satisfied. “[I]f one provides a service
   17 that could be used to infringe copyrights, with the manifested intent that the service

   18 actually be used in that manner, that person is liable for the infringement that occurs
   19 through the use of the service.” Fung, 710 F.3d at 1037. Set Broadcast distributed

   20 and promoted the Setvnow service for infringing uses, and third parties predictably

   21 engaged in precisely that infringement.

   22               3.    The Sum of Money at Stake is Proportional to the Harm
   23        This factor considers the “the amount of money at stake in relation to the
   24 seriousness of the [defaulting party’s] conduct. Eitel factor also weighs in favor of

   25 default judgment. PepsiCo, Inc., 238 F.Supp.2d at 1176. As discussed infra,

   26 Plaintiffs seek an award of $7,650,000 in statutory damages, i.e., the statutory

   27 maximum of $150,000 for Set Broadcast’s inducement of the infringement of each

   28 of the 51 Copyrighted Works listed in Exhibit A to the Complaint. See 17 U.S.C.
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    1 § 504(c)(1)-(2) (range of damages for willful copyright infringement is $750-

    2 $150,000 per work infringed). The amount is significant, to be sure. But it

    3 represents only a fraction of the harm Set Broadcast willfully and intentionally

    4 inflicted upon Plaintiffs.

    5        As noted, Plaintiffs’ investigators used the Setvnow service to search for and
    6 obtain unauthorized streams of each of the Works listed in Exhibit A. See van

    7 Voorn ¶¶ 4-6. Set Broadcast had over 260,000 monthly subscribers. See Kim Decl.

    8 ¶ 9. A significant percentage of those subscribers undoubtedly accessed

    9 unauthorized streams of some or all of those same Works, meaning Set Broadcast’s

   10 inducement of the Works was on a mass scale.

   11        Moreover, the 51 Copyrighted Works are representative only, and constitute
   12 the tip of the iceberg of infringements Set Broadcast intentionally induced.

   13 Considering the sheer volume of unauthorized content available on the Setvnow

   14 service, its advertised (and actual) availability round-the-clock, and Set Broadcast’s

   15 260,000 monthly users—Set Broadcast infringed Plaintiffs’ Copyrighted Works

   16 willfully, flagrantly, and on a massive scale. Under these circumstances, courts

   17 have found significantly larger sums of money to be proportional and reasonable.

   18 See China Cent. Tele., 2015 WL 12732432, at *14 (finding $55,460,691 award
   19 reasonable and citing cases).

   20               4.     There Is No Possibility of Dispute Regarding Material Facts
   21        A defendant’s failure to respond to a complaint indicates that “the likelihood
   22 that any genuine issue may exist is, at best, remote.” Philip Morris USA, Inc. v.

   23 Castworld Prods., Inc., 219 F.R.D. 494, 500 (C.D. Cal. 2003). As default has been

   24 entered against Set Broadcast, there is no possible dispute concerning the material

   25 facts because the factual allegations of Plaintiffs’ complaint are taken as true.

   26 PepsiCo, 238 F. Supp. 2d at 1177. This Eitel factor also weighs in favor of default

   27 judgment.

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    1                5.     There Is No Possibility of Excusable Neglect
    2         There are no facts to suggest that Set Broadcast’s failure to respond to the
    3 Court’s April 17, 2019 Order to Show Cause or the Clerk’s May 19, 2019 entry of

    4 default resulted from excusable neglect. Set Broadcast has failed to comply with the

    5 Court’s Order, failed to retain new counsel following the withdrawal of its former

    6 counsel, failed to file a new Answer, and otherwise failed to participate in this

    7 litigation.

    8                6.     The Policy for Decisions on the Merits Does Not Preclude
                            Default Judgment
    9
              The final Eitel factor considers the preference for deciding cases on the
   10
        merits, see Eitel, 782 F.2d at 1471-72, but “this factor, standing alone, cannot
   11
        suffice to prevent entry of default judgment for otherwise default judgment could
   12
        never be entered,” Warner Bros. Ent’mt Inc. v. Caridi, 346 F. Supp. 2d 1068, 1073
   13
        (C.D. Cal. 2004). Set Broadcast’s default is the reason there can be no decision on
   14
        the merits. This factor should not reward Set Broadcast’s refusal to satisfy its
   15
        obligations to this Court and to Plaintiffs.
   16
              D.     Plaintiffs Are Entitled to All of Their Requested Relief
   17
                     1.     Plaintiffs’ Request for Statutory Damages for Willful
   18                       Copyright Infringement Is Reasonable
   19         The Copyright Act authorizes statutory damages of $750 to $30,000 per
   20 infringed work, and enhanced statutory damages of up to $150,000 per infringed

   21 work for willful infringement. 17 U.S.C. § 504(c)(1)-(2). “Statutory damages are

   22 particularly appropriate in a case . . . in which defendant has failed to mount any

   23 defense or to participate in discovery, thereby increasing the difficulty of

   24 ascertaining plaintiffs actual damages.” Jackson v. Sturkie, 255 F. Supp. 2d 1096,

   25 1101 (N.D. Cal. 2003).

   26         “Because awards of statutory damages serve both compensatory and punitive
   27 purposes, a plaintiff may recover statutory damages whether or not there is adequate

   28 evidence of the actual damages suffered by plaintiff or of the profits reaped by
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    1 defendant” in order to deter future infringement. L.A. News Serv. v. Reuters Tele.

    2 Int’l, Ltd. 149 F.3d 987, 996 (9th Cir. 1998). Here, an award of $7,650,000 reflects

    3 the statutory maximum of $150,000 for each of the 51 representative works

    4 infringed by Set Broadcast. That award would serve the most fundamental purposes

    5 of statutory damages: compensation, punishment, and deterrence. Though this

    6 amount cannot compare to the harm caused by the widespread infringement of

    7 Plaintiffs’ Copyrighted Works, the magnitude of this award will serve as a deterrent

    8 to other wrongdoers.

    9                     (a)    Willfulness
   10        As pled in the Complaint, Set Broadcast willfully induced the infringement of
   11 Plaintiffs’ Copyrighted Works. See Caridi, 346 F. Supp. 2d at 1074 (“Because of

   12 the entry of default … the Court must take [plaintiffs’] allegation of willful

   13 infringement as true.”). Set Broadcast’s advertisements and promotions for the

   14 Setvnow service leave no doubt about the character of its infringement. Setvnow

   15 was a service that promised access to “500+ channels” with “Thousands of On

   16 Demand entertainment options” for “ONLY $20 PER MONTH.” Compl. ¶ 29.

   17 Sponsored reviewers described the service aptly: “some [content] that you might

   18 have to rent somewhere else i[s] free here in your $20 subscription per month and
   19 your favorite TV shows are here too,” and “You have new releases right there and

   20 you simply click on the movie … you click it and click on play again and here you

   21 have the movie just like that in 1 2 3 in beautiful HD quality.” Kim Decl. ¶ 6.

   22 Given the obviously infringing nature of the streams Set Broadcast offered to its

   23 customers, Set Broadcast knowingly and willfully infringed Plaintiffs’ Copyrighted

   24 Works.

   25                     (b)    Number of Registered Works
   26        Plaintiffs have submitted a representative sample of 51 registered
   27 Copyrighted Works that investigators confirmed were illegally streamed on the

   28 Setvnow service. See Compl. ¶ 16; van Voorn Decl. ¶¶ 4-6; Kim Decl. ¶¶ 11-62,
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    1 Exs. 4-55 (list of infringed Copyrighted Works and corresponding Certificates of

    2 Registration). As discussed supra, these 51 representative works represent a tiny

    3 fraction of the thousands of Plaintiffs’ Copyrighted Works that Set Broadcast likely

    4 illegally infringed, given that the Setvnow service not only offered “Thousands of

    5 On demand” options, but also streamed “over 500 Live” television channels with

    6 Plaintiffs’ Copyrighted Works. Set Broadcast also appears to have had over

    7 260,000 monthly subscribers to the Setvnow service, thus the sheer number of

    8 unauthorized streams, i.e., infringing public performances, of Plaintiffs’

    9 Copyrighted Works, likely reached the hundreds of thousands. See Kim Decl. ¶ 9,

   10 Ex. 3.

   11                       (c)    The Statutory Maximum Is Proportional to the Harm
                                   Inflicted by Set Broadcast
   12
               The statutory maximum is appropriate in cases that involve widespread harm
   13
        like that inflicted by Set Broadcast. Courts in this circuit and beyond have awarded
   14
        the statutory maximum in default judgment actions involving similar widespread
   15
        and flagrant infringement. See, e.g., Perfect 10, Inc., v. Talisman Comm. Inc., No.
   16
        CV99-10450 RAP MCx, 2000 WL 364813, *3-4 (C.D. Cal. Mar. 27, 2000)
   17
        (awarding maximum statutory damages per infringed work for willful infringement
   18
        on default judgment); Caridi, 346 F. Supp. 2d at 1074 (same); Graduate Mgmt.
   19
        Admission Council v. Raju, 267 F. Supp. 2d 505, 511-12 (E.D. Va. 2003) (same).
   20
               The $7,650,000 award Plaintiffs seek is proportional to the immense harm Set
   21
        Broadcast has inflicted on Plaintiffs by inducing the widespread, unauthorized
   22
        streaming of Plaintiffs’ Copyrighted Works. Set Broadcast has deprived Plaintiffs
   23
        of their exclusive rights to control how, when, and to whom they will disseminate
   24
        their Copyrighted Works. See Harper & Row Publishers, Inc. v. Nation Enters.,
   25
        471 U.S. 539, 546 (1985) (“The rights conferred by copyright are designed to assure
   26
        contributors to the store of knowledge a fair return for their labors.”); see also
   27
        Zediva, 824 F. Supp. 2d at 1012-13 (defendants’ unauthorized streaming
   28
                                                   -13-
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    1 “interfere[s] with Plaintiffs’ ability to control the use and transmission of their

    2 Copyrighted Works, thereby causing irreparable injury.”).

    3        Set Broadcast’s illegal conduct has irreparably undermined the legitimate
    4 market in which consumers can purchase access to the same works, into which

    5 Plaintiffs have invested significantly. See e.g., Grokster, 545 U.S. at 928-29

    6 (discussing harms from unauthorized distribution of copyrighted works); China

    7 Cent. Tele., 2015 WL 3649187, at *13 (infringing video streaming service caused

    8 irreparable harm because it “interfered with plaintiffs’ ability to develop a lawful

    9 market for internet distribution”); TickBox, 2018 WL 1568698, at *12-13. As is

   10 evident from Set Broadcast’s advertising campaign, the Setvnow service was

   11 intended to compete with authorized and legitimate offerings, including authorized

   12 cable and broadcast networks and licensed VOD services. See Compl. ¶¶ 1-4, 42-

   13 44. Set Broadcast has willfully infringed Plaintiffs’ Copyrighted Works and, in

   14 doing so, caused Plaintiffs and their entire business model immense damage. The

   15 $7,650,000 statutory damages sought here therefore represents only a fraction of the

   16 actual damages inflicted by Set Broadcast on Plaintiffs.

   17                      (d)    Plaintiffs Are Entitled to a Permanent Injunction
   18        The Copyright Act authorizes courts to grant injunctive relief “to prevent or
   19 restrain infringement of a copyright.” 17 U.S.C. § 502(a). “As a general rule, a

   20 permanent injunction will be granted when liability has been established and there is

   21 a threat of continuing violations.” MAI Systems Corp. v. Peak Computer, Inc., 991

   22 F.2d 511, 520 (9th Cir. 1993). This is so even where, as here, the infringer has

   23 apparently voluntarily ceased its infringing activities. See, e.g., Metro-Goldwyn-

   24 Mayer Studios, Inc. v. Grokster, Ltd., 518 F. Supp. 2d 1197, 1221-22 (C.D. Cal.

   25 2007) (rejecting purported voluntary “reformation” by infringer and imposing

   26 permanent injunction); see also Walt Disney Co. v. Powell, 897 F.2d 565, 568 (D.C.

   27 Cir. 1990) (affirming permanent injunction where defendant voluntarily ceased

   28 infringing conduct).
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    1        Set Broadcast’s default is an admission of the factual allegations regarding
    2 liability. Though the Setvnow service appears to no longer be available, Set

    3 Broadcast’s apparent cessation of its willful and flagrant infringement does not and

    4 should not prevent this Court from exercising its discretion to permanently enjoin

    5 Set Broadcast from infringing Plaintiffs’ Copyrighted Works. There is a significant

    6 threat of continuing irreparable injuries to Plaintiffs, which, in conjunction with the

    7 strong public interest in the enforcement of the copyright laws, outweighs the

    8 nominal hardship to Set Broadcast.

    9        First, there is a significant threat of future infringement and voluntary
   10 cessation of infringing conduct is no defense to a permanent injunction. In

   11 Grokster, for example, the defendant-infringer attempted to avoid a permanent

   12 injunction by asserting voluntary “reformation” of its infringing ways. Grokster,

   13 518 F. Supp. 2d at 1221-22. Rejecting these self-serving statements, the district

   14 court found that the evidence in the record “warranted … an inference” of future

   15 infringement. Id. at 1221. As is the case here, the “‘overwhelming’ evidence of

   16 [defendant’s] illegal objective … resulted in a ‘staggering’ amount of infringement.”

   17 Id. And, like the defendant in Grokster, Set Broadcast’s “business model has

   18 depended on inducement and the company would financially benefit from further
   19 infringement.” Id. Set Broadcast apparently sold hundreds of thousands of monthly

   20 subscriptions to its Setvnow service, and it sold these subscriptions by advertising

   21 the availability of “Thousands of On Demand” options and “over 500 live”

   22 television channels that featured Plaintiffs’ Copyrighted Works. As in Grokster, Set

   23 Broadcast has every financial incentive to return to its infringing ways. While the

   24 Setvnow service is apparently no longer available, absent a permanent injunction,

   25 nothing will prevent Set Broadcast from launching yet another streaming service

   26 that serves the exact same function as the Setvnow service: providing high-quality,

   27 high-speed, and completely illegal streams of Plaintiffs’ Copyrighted Works to

   28 customers. “[T]he entire purpose of an injunction is to take away defendant’s
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    1 discretion not to obey the law.” Canadian Lumber Trade Alliance v. United States,

    2 441 F. Supp. 2d 1259, 1266 (CIT 2006). In light of its willful and egregious

    3 conduct, Set Broadcast should not be afforded that discretion.

    4        Second, an award of monetary damages alone will not adequately compensate
    5 Plaintiffs for the loss of control over the Copyrighted Works, the damage to their

    6 business goodwill, and harm to the continued advancement of the legitimate online

    7 market for distribution of creative works. See TickBox, 2018 WL 1568698, at *13

    8 (“[I]t is unlikely that money damages could adequately compensate for difficult-to-

    9 quantify harms to Plaintiffs’ business models and relationships” from unauthorized

   10 streaming); Zediva, 824 F. Supp. 2d at 1013 (same). Moreover, given Set

   11 Broadcast’s default, collecting any monetary award will likely prove quite

   12 challenging. Under these circumstances, a monetary remedy is insufficient. See,

   13 e.g., Grokster, 518 F. Supp. 2d at 1219 (“Damages are no remedy at all if they

   14 cannot be collected….”); Lava Records, LLC v. Ates, Civ. A-05-1314, 2006 WL

   15 1914166, at *3 (W.D. La. July 11, 2006) (awarding permanent injunction because of

   16 “the need to prevent irreparable harm to Plaintiffs, which will not be remedied by a

   17 damage award that may or may not be collectible”).

   18        Third, the balance of hardships favors Plaintiffs. Any “harm” to Set
   19 Broadcast “does not merit significant equitable protection” as it is the result of its

   20 own illegal conduct. Disney Enter. v. VidAngel, 869 F.3d 848, 867 (9th Cir. 2017).

   21 In contrast, absent a permanent injunction, Plaintiffs will face the ongoing threat of

   22 continuing, irreparable harm by Set Broadcast and future infringement.

   23        Fourth, “the public has a compelling interest in protecting copyright owners’
   24 marketable rights to their work and the economic incentive to continue creating

   25 television programming and motion pictures.” VidAngel, 869 F.3d at 867.

   26        Plaintiffs respectfully request that the Court enter the proposed permanent
   27 injunction against Set Broadcast.

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    1                     (e)    Post-Judgment Interest
    2        Plaintiffs respectfully request post-judgment interest calculated “at a rate
    3 equal to the weekly average 1-year constant maturity Treasury yield, as published

    4 by the Board of Governors of the Federal Reserve System, for the calendar week

    5 preceding the date of the judgment.” 28 U.S.C. § 1961(a).

    6 IV.    CONCLUSION
    7        Plaintiffs respectfully request that the Court enter default judgment against
    8 Set Broadcast.

    9

   10 DATED: June 28, 2019                  MUNGER, TOLLES & OLSON LLP
   11

   12

   13
                                            By:        /s/ Kelly M. Klaus
                                                KELLY M. KLAUS
   14                                       Attorneys for Plaintiffs
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